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11    QUALITY SYSTEMS, INC. and NEXTGEN HEALTHCARE INFORMATION
      SYSTEMS, LLC
12
13                          UNITED STATES DISTRICT COURT
14           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
15
16    TRACI WOLBERT,                  )           CASE NO. CV-8:15-cv-00550-JLS-RNB
                                      )
17             Plaintiff,             )           [Assigned to the Hon. Josephine L. Staton,
                                      )           Courtroom 10A ; Magistrate Judge Robert
18        vs.                         )           N. Block, Courtroom 6D]
                                      )
19    QUALITY SYSTEMS, INC. NEXTGEN )             DEFENDANTS’ NOTICE OF MOTION
      HEALTHCARE INFORMATION          )           AND MOTION TO TRANSFER
20    SYSTEMS, and DOES 1 through 10, )           VENUE
      INCLUSIVE,                      )
21                                    )           [Filed concurrently with Memorandum of
                                      )           Points and Authorities in Support,
22             Defendants.            )           Declarations in Support, and [Proposed]
                                      )           Order]
23                                    )
                                      )           Date:          October 23, 2015
24                                    )           Time:          2:30 p.m.
                                      )           Courtroom:     10A
25                                    )
                                      )
                                      )           Complaint Filed: April 8, 2015
26                                    )           FAC Filed: May 4, 2015
27    ///
28    ///


      CV-8:15-cv-00550-JLS-RNB                1        DEFENDANTS’ NOTICE OF MOTION AND
                                                              MOTION TO TRANSFER VENUE
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 1           TO THE HONORABLE COURT, AND TO PLAINTIFF:

 2           PLEASE TAKE NOTICE that on October 23, 2015, at 2:30 p.m., or as soon thereafter as

 3    counsel may be heard in Courtroom 10A of the above-entitled Court, Defendants QUALITY

 4    SYSTEMS, INC. and NEXTGEN HEALTHCARE INFORMATION SYSTEMS, LLC will and hereby

 5    do move this Court for an Order transferring the venue of the above-captioned action to the United

 6    States District Court for the Eastern District of Pennsylvania.

 7           Plaintiff TRACI WOLBERT’s (“Plaintiff”) action against Defendants has its nexus in the

 8    Eastern District of Pennsylvania and should be transferred there for the convenience of the Parties and

 9    witnesses, and to promote the interest of justice. In brief: (1) venue in this matter is proper in the

10    Eastern District of Pennsylvania pursuant to 28 U.S.C. 1391; (2) Plaintiff resides in Pennsylvania; (3) all

11    of the alleged harm occurred in Pennsylvania; (4) nearly all of the witnesses reside in Pennsylvania and

12    (5) nearly all of the physical evidence, to the extent any exists, is located in Pennsylvania.

13           This Motion is made following the conference of counsel pursuant to Local Rule 7-3 which took

14    place on September 8, 2015. (Declaration of Andrew D. La Fiura, ¶ 2.)

15           This Motion is based upon this Notice, the accompanying Memorandum of Points and

16    Authorities, the Declaration of Andrew D. La Fiura, the Declaration of Steve Puckett, the Declaration of

17    Jane Kurcon and all pleadings and papers on file herein and such further oral and documentary evidence

18    as may be presented in any reply brief or at the hearing on this Motion.

19
20    Dated: September 18, 2015                      JACKSON LEWIS P.C.
21
22                                                   By:       /s/ Andrew D. La Fiura
23                                                             Andrew D. La Fiura
                                                               Jared L. Bryan
24                                                             Vandana Kapur
25                                                   Attorneys for Defendants
                                                     QUALITY SYSTEMS, INC. and NEXTGEN
26                                                   HEALTHCARE INFORMATION SYSTEMS,
27                                                   LLC

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      CV-8:15-cv-00550-JLS-RNB                             2         DEFENDANTS’ NOTICE OF MOTION AND
                                                                            MOTION TO TRANSFER VENUE
     Case 8:15-cv-00550-JLS-RNB Document 24 Filed 09/18/15 Page 3 of 4 Page ID #:132


 1                                CERTIFICATE OF SERVICE
 2    UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
 3    CASE NAME:         TRACI WOLBERT vs. QUALITY SYSTEMS, INC., ET AL.
 4    CASE NUMBER: CV-8:15-cv-00550-JLS-RNB
 5          I am employed in the County of ORANGE, State of California. I am over the age
      of 18 and not a party to the within action; my business address is 5000 Birch Street, Suite
 6
      5000, Newport Beach, CA 92660.
 7
            On September 18, 2015, I served following document(s) described as:
 8
 9     DEFENDANTS’ NOTICE OF MOTION AND MOTION TO TRANSFER VENUE
10    on the parties in this action listed below in the manner designated below:
11
                           PLEASE SEE ATTACHED SERVICE LIST
12
13         BY NOTICE OF ELECTRONIC FILING. The above-listed counsel have
      consented to electronic service and have been automatically served by the Notice of
14
      Electronic Filing, which is automatically generated by CM/ECF at the time said
15    document was filed, and which constitutes service pursuant to FRCP 5(b)(2)(D).
16         FEDERAL I declare under penalty of perjury under the laws of the State of
17    California and the United States that the foregoing is true and correct, and that I am
      employed in the office of a member of the bar of this Court at whose direction the service
18    was made.
19
            Executed on September 18, 2015, at Newport Beach, California.
20
21
                                                                /s/ Lisa Uyesugi
22                                                        Lisa Uyesugi
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      CV-8:15-cv-00550-JLS-RNB                    3       DEFENDANTS’ NOTICE OF MOTION AND
                                                                 MOTION TO TRANSFER VENUE
     Case 8:15-cv-00550-JLS-RNB Document 24 Filed 09/18/15 Page 4 of 4 Page ID #:133


 1                                     SERVICE LIST
 2
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 6
 7    Patricia V. Pierce, Esq.                    Co-Counsel for Plaintiff,
 8    GREENBLATT PIERCE ENGLE FUNT                TRACI WOLBERT
      AND FLORES
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16    4833-1698-6407, v. 1

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      CV-8:15-cv-00550-JLS-RNB                4       DEFENDANTS’ NOTICE OF MOTION AND
                                                             MOTION TO TRANSFER VENUE
